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12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA

14
15
     FERRARA CANDY COMPANY,               )
16                                        )
                       Plaintiff,         )
17                                        ) Case No. 2:20-cv-10349-SVW-PD
                 vs.                      )
18                                        ) JUDGMENT AND PERMANENT
     TOPS CANNABIS and CHONNA             ) INJUNCTION
19
     CRISTELLE,                           )
20                                        )
                       Defendants.
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     JUDGMENT                             -1-           US District Court 2:20-cv-10349
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1                 The Court, pursuant to the Stipulation for Entry of Judgment and
2    Permanent Injunction, between Plaintiff Ferrara Candy Co. (“Ferrara”) and the
3    Defendants Tops Cannabis (“Tops”) and Chonna Cristelle (“Cristelle"), hereby
4    ORDERS, ADJUDICATES, and DECREES that final judgment, including permanent
5    injunction, shall be and hereby is entered on the First Amended Complaint in the
6    above-referenced matter as follows:
7                                          JUDGMENT
8                 IT IS HEREBY FOUND BY THE COURT, with the consent of the
9    Plaintiff, Ferrara Candy Co. (“Ferrara”) and the Defendants, Tops Cannabis (“Tops”)
10   and Chonna Cristelle (“Cristelle") that:
11                1.     This Court has jurisdiction over Ferrara, Tops, Cristelle, and over
12   the subject matter of this action, and venue is proper.
13                2.     Cristelle owned Hello, LLC (“Hello”), a California limited liability
14   company that provided marketing, logistics, and phone services to several companies
15   and cannabis dispensaries, including Tops.
16                3.     Ferrara is engaged in the manufacture, distribution, sale, and
17   marketing of well-known candy products, including its famous NERDS and NERDS
18   ROPE candy, throughout the United States.
19                4.     Ferrara is the owner of the NERDS trademarks as reflected in part
20   by its United States federal trademark registrations, including:
21           MARK          REG. NO.          REG. DATE           RELEVANT GOODS
22        NERDS            2,209,131     December 8, 1998       Candy in Class 30
23                         4,400,174     September 10, 2013     Candy in Class 30
24
     (collectively referred to herein as "NERDS Marks"). These registrations are valid,
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     subsisting and constitute conclusive evidence of Ferrara's exclusive right to use the
26
     NERDS Marks for the goods specified in the registrations. 15 U.S.C. § 1115(b).
27
                  5.     Since its introduction in the 1980s, the NERDS candy brand has
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     achieved enormous commercial success throughout the United States, including in

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1    California. As a result of this commercial success, the NERDS Marks have become
2    famous among the general consuming public of the United States, and represent
3    extraordinarily valuable goodwill owned by Ferrara.
4                 6.    Ferrara especially has marketed its NERDS and NERDS ROPE
5    candy products to parents as a fun and enjoyable treat for children of all ages.
6    Therefore, Ferrara would never condone or authorize the use of the NERDS Marks in
7    connection with products that could be harmful to children.
8                 7.    Ferrara filed its First Amended Complaint on January 29, 2021,
9    alleging, inter alia, claims for trademark infringement, unfair competition and dilution
10   under federal and California state law based on Tops’ unauthorized marketing, sale,
11   distribution, and advertising of THC-infused products bearing imitations of the NERDS
12   Marks called "Medicated Nerds Rope."
13                8.    The manufacture, marketing, sale, distribution and advertising of
14   Medicated Nerds Rope constitutes:
15                          a. trademark infringement in violation of Section 32 of the
16                             Lanham Act, 15 U.S.C. § 1114;
17                          b. unfair competition in violation of Section 43(a) of the
18                             Lanham Act, 15 U.S.C. § 1125(a) and California common
19                             law;
20                          c. dilution in violation of Section 43(c) of the Lanham Act, §
21                             1125(c) and California Business and Professions Code §§
22                             14330-14335; and
23                          d. unfair competition in violation of California Business and
24                             Professions Code §§ 17200 et seq.
25                9.    Therefore, the Court finds that injunctive relief is appropriate.
26                                           ORDER
27   IT IS FURTHER ORDERED, ADJUDGED AND DECREED, with the consent of the
28   Plaintiff Ferrara and the Defendants Tops and Cristelle that:

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1      a) Tops, its agents, corporate and entity affiliates related through common
2         ownership or control, servants, employees, agents, attorneys, heirs, executors,
3         administrators, successors and assigns, and all persons or entities acting in
4         concert or participation with them or any of them, including Hello, are hereby
5         permanently enjoined from:
6              i)   the manufacture, marketing, sale, advertising, and distribution of
7                   Medicated Nerds Rope or any other unauthorized products bearing or
8                   advertised under the NERDS Marks, and any mark similar to or dilutive of
9                   the NERDS Marks; and
10         ii)      engaging in any other conduct that tends to falsely represent, or that is
11                  likely to confuse, mislead, or deceive consumers into believing, that Tops
12                  or its products or services are sponsored, approved, or licensed by Ferrara,
13                  or are in some way connected or affiliated with Ferrara.
14     b) Tops and all others holding by, through or under it, including Hello, are hereby
15        required, jointly and severally, to:
16             i)   account for and pay over to Ferrara all profits derived from their acts of
17                  trademark infringement and unfair competition in accordance with 15
18                  U.S.C. § 1117(a) and California common law after receipt of the cease and
19                  desist letter on June 16, 2020;
20         ii)      destroy any remaining Medicated Nerds Rope in their possession,
21                  including packaging, and any advertising, marketing, or promotional
22                  materials that include unauthorized uses of the NERDS Marks; and
23        iii)      send a notice to any existing customers or vendors that dealing in, selling,
24                  marketing or distributing Medicated Nerds Rope is unlawful.
25     c) This Court shall retain jurisdiction over this matter for the purpose of enforcing
26        this Judgment.
27        //
28        //

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1      d) The action against Cristelle is dismissed without prejudice.
2      e) Each party shall bear its own costs and attorneys’ fees.
3
4      SO ORDERED:
5
               May 4
6      Dated _______________, 2021
7
8                                                _______________________________
9                                                Stephen V. Wilson
10                                               United States District Court Judge
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     JUDGMENT                                  -5-            US District Court 2:20-cv-10349
